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 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                      )
                                                    )       No. Cr. S-08-093 FCD
13                          Plaintiff,              )       No. Cr. S-08-116 FCD
                                                    )
14                                                  )       STIPULATION AND
                                                    )       ORDER CONTINUING HEARING
15                                                  )       RE: CHARLES HEAD BAIL REVIEW
     CHARLES HEAD, et al.,                          )
16                                                  )
                            Defendants.             )
17                                                  )
18          The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and
19   defendant Charles Head, through his counsel Scott L. Tedmon, hereby stipulate that the bail review
20   hearing set for Tuesday, April 20, 2010 at 11:00 a.m., be continued to Thursday, April 29, 2010 at
21   10:00 a.m. before United States Magistrate Judge Kimberly J. Mueller.
22          Since the date of the last bail hearing, the government, defense counsel, and Pretrial Services
23   Officer Gina Faubion have been earnestly working on the issue of defendant Charles Head’s bail.
24   However, all parties need additional time in order to be fully prepared at the hearing on this matter.
25   Therefore, government and defense counsel stipulate it is appropriate to continue the current bail
26   review hearing to Thursday, April 29, 2010 at 10:00 a.m. Pretrial Services Officer Gina Faubion
27   concurs in this request.
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 1             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
 2   behalf.
 3   IT IS SO STIPULATED.
 4   DATED: April 15, 2010                          BENJAMIN B. WAGNER
                                                    United States Attorney
 5
                                                     /s/ Ellen V. Endrizzi
 6                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
 7
 8   DATED: April 15, 2010                          LAW OFFICES OF SCOTT L. TEDMON
 9                                                   /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
10                                                  Attorney for Defendant Charles Head
11
12
13
14
15                                                 ORDER
16             GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
17   ORDERED that the Bail Review Hearing now scheduled for Tuesday, April 20, 2010 at 11:00 a.m.,
18   is hereby continued to Thursday, April 29, 2010 at 10:00 a.m., before United States Magistrate
19   Judge Kimberly J. Mueller.
20             IT IS SO ORDERED.
21   DATED: April 15, 2010.
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